      Case 2:15-cv-04123-SSV-JCW Document 58 Filed 07/12/16 Page 1 of 2



                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


Jordella Robinson, Individually and as a representative
of a class of similarly situated borrowers,

                      Plaintiffs                           Civil Action No. 2:15-cv-04123

v.                                                         Section R – Judge Sarah S. Vance

Standard Mortgage Corporation and Standard                 Magistrate 2 – Joseph C. Wilkinson, Jr.
Mortgage Insurance Agency, Inc.,

                      Defendants

                  DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS

       NOW INTO COURT, through undersigned counsel, come Defendants, Standard

Mortgage Corporation and Standard Mortgage Insurance Agency, Inc., who respectfully move the

Court for entry of an Order dismissing, with prejudice, Counts III, IV, and V of the Amended

Complaint filed by Plaintiff, Jordella Robinson, asserting state law claims for breach of implied

covenant of good faith and fair dealing and unjust enrichment. In an abundance of caution,

Standard Mortgage requests in the alternative that, should any of Plaintiff’s remaining state law

claims survive this Rule 12(b)(6) Motion to Dismiss, this Court dismiss any surviving claims

without prejudice pursuant to 28 U.S.C. § 1367(c)(3). The grounds for this Motion are set forth

with more particularity in the accompanying Memorandum in Support.

                                            Respectfully submitted,

                                            s/ John Anthony Dunlap
                                            ______________________________________
                                            CARVER, DARDEN, KORETZKY, TESSIER,
                                            FINN, BLOSSMAN & AREAUX, LLC
                                            Frank A. Tessier (# 9749)
                                            John Anthony Dunlap (# 18190) T.A.
                                            Russell L. Foster (# 26643)

                                               1
       Case 2:15-cv-04123-SSV-JCW Document 58 Filed 07/12/16 Page 2 of 2



                                                Haley E. Nix (# 36606)
                                                1100 Poydras Street, Suite 3100
                                                New Orleans, LA 70163
                                                Telephone:    (504) 585-3800
                                                Facsimile:    (504) 585-3801

                                                Attorneys for Standard Mortgage Corporation and
                                                Standard Mortgage Insurance Agency, Inc.


                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 12th day of July, 2016, I electronically filed the foregoing

with the clerk of court by using the CM/ECF system of the Eastern District of Louisiana, which

will send those of electronic filing to counsel of record for all parties in this case.

                                                        s/ John Anthony Dunlap

                                                        John Anthony Dunlap




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